           Case 4:14-cv-00783-JHP-PJC                                 Document 1 Filed in USDC ND/OK on 12/31/14                                                       Page 1 of 1
-6 5HY                                                   CIVIL COVER SHEET
7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHQRUVXSSOHPHQWWKHILOLQJDQGVHUYLFHRISOHDGLQJVRURWKHUSDSHUVDVUHTXLUHGE\ODZH[FHSWDV
SURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULVUHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKH
SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                      DEFENDANTS
Paul A. Ross                                                                                         Shawn Rash


   (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII      Tulsa County, OK                           &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW               Gillespie County, TX
                             (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                       127( ,1/$1'&21'(01$7,21&$6(686(7+(/2&$7,212)
                                                                                                                      7+(75$&72)/$1',192/9('
                                                                                                          
   (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                          $WWRUQH\V(If Known)
Thomas L. Vogt and Patrick G. Colvin, Jones, Gotcher & Bogan,                                        James M. Sturdivant and Barbara M. Moschovidis, GableGotwals
15 East 5th Street, Suite 3800                                                                       1100 ONEOK Plaza, 100 West Fifth Street,
Tulsa, OK 74103                                                                                      Tulsa, OK 74103

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                   (For Diversity Cases Only)                                           and One Box for Defendant)
u  86*RYHUQPHQW             u  )HGHUDO4XHVWLRQ                                                                     PTF          DEF                                           PTF      DEF
        3ODLQWLII                        (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u           u      ,QFRUSRUDWHGor3ULQFLSDO3ODFH       u       u 
                                                                                                                                                  RI%XVLQHVV,Q7KLV6WDWH

u  86*RYHUQPHQW             u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u        u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH    u       u 
        'HIHQGDQW                        (Indicate Citizenship of Parties in Item III)                                                               RI%XVLQHVV,Q$QRWKHU6WDWH

                                                                                              &LWL]HQRU6XEMHFWRID           u        u     )RUHLJQ1DWLRQ                      u       u 
                                                                                              )RUHLJQ&RXQWU\
IV. NATURE OF SUIT(Place an “X” in One Box Only)
          CONTRACT                                         TORTS                                FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
u ,QVXUDQFH                   PERSONAL INJURY         PERSONAL INJURY           u 'UXJ5HODWHG6HL]XUH             u $SSHDO86&          u )DOVH&ODLPV$FW
u 0DULQH                     u $LUSODQH               u 3HUVRQDO,QMXU\             RI3URSHUW\86&          u :LWKGUDZDO                 u 6WDWH5HDSSRUWLRQPHQW
u 0LOOHU$FW                 u $LUSODQH3URGXFW               3URGXFW/LDELOLW\     u 2WKHU                                 86&                u $QWLWUXVW
u 1HJRWLDEOH,QVWUXPHQW             /LDELOLW\           u +HDOWK&DUH                                                                                      u %DQNVDQG%DQNLQJ
u 5HFRYHU\RI2YHUSD\PHQW u $VVDXOW/LEHO                   3KDUPDFHXWLFDO                                                  PROPERTY RIGHTS                u &RPPHUFH
      (QIRUFHPHQWRI-XGJPHQW         6ODQGHU                     3HUVRQDO,QMXU\                                               u &RS\ULJKWV                 u 'HSRUWDWLRQ
u 0HGLFDUH$FW               u )HGHUDO(PSOR\HUV¶             3URGXFW/LDELOLW\                                             u 3DWHQW                     u 5DFNHWHHU,QIOXHQFHGDQG
u 5HFRYHU\RI'HIDXOWHG             /LDELOLW\           u $VEHVWRV3HUVRQDO                                                u 7UDGHPDUN                       &RUUXSW2UJDQL]DWLRQV
     6WXGHQW/RDQV              u 0DULQH                         ,QMXU\3URGXFW                                                                                u &RQVXPHU&UHGLW
      ([FOXGHV9HWHUDQV         u 0DULQH3URGXFW                 /LDELOLW\                         LABOR                        SOCIAL SECURITY                u &DEOH6DW79
u 5HFRYHU\RI2YHUSD\PHQW           /LDELOLW\             PERSONAL PROPERTY            u )DLU/DERU6WDQGDUGV             u +,$ II                u 6HFXULWLHV&RPPRGLWLHV
     RI9HWHUDQ¶V%HQHILWV      u 0RWRU9HKLFOH          u 2WKHU)UDXG                    $FW                             u %ODFN/XQJ                  ([FKDQJH
u 6WRFNKROGHUV¶6XLWV        u 0RWRU9HKLFOH          u 7UXWKLQ/HQGLQJ          u /DERU0DQDJHPHQW                 u ',:&',::  J           u 2WKHU6WDWXWRU\$FWLRQV
u 2WKHU&RQWUDFW                    3URGXFW/LDELOLW\    u 2WKHU3HUVRQDO                 5HODWLRQV                       u 66,'7LWOH;9,             u $JULFXOWXUDO$FWV
u &RQWUDFW3URGXFW/LDELOLW\ u 2WKHU3HUVRQDO                 3URSHUW\'DPDJH        u 5DLOZD\/DERU$FW                u 56,  J                 u (QYLURQPHQWDO0DWWHUV
u )UDQFKLVH                         ,QMXU\               u 3URSHUW\'DPDJH           u )DPLO\DQG0HGLFDO                                                u )UHHGRPRI,QIRUPDWLRQ
                                 u 3HUVRQDO,QMXU\              3URGXFW/LDELOLW\           /HDYH$FW                                                             $FW
                                        0HGLFDO0DOSUDFWLFH                                  u 2WKHU/DERU/LWLJDWLRQ                                            u $UELWUDWLRQ
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS            u (PSOR\HH5HWLUHPHQW                FEDERAL TAX SUITS              u $GPLQLVWUDWLYH3URFHGXUH
u /DQG&RQGHPQDWLRQ          u 2WKHU&LYLO5LJKWV          Habeas Corpus:                  ,QFRPH6HFXULW\$FW              u 7D[HV 863ODLQWLII           $FW5HYLHZRU$SSHDORI
u )RUHFORVXUH                u 9RWLQJ                 u $OLHQ'HWDLQHH                                                        RU'HIHQGDQW                   $JHQF\'HFLVLRQ
u 5HQW/HDVH (MHFWPHQW     u (PSOR\PHQW             u 0RWLRQVWR9DFDWH                                                u ,56²7KLUG3DUW\            u &RQVWLWXWLRQDOLW\RI
u 7RUWVWR/DQG              u +RXVLQJ                       6HQWHQFH                                                           86&                    6WDWH6WDWXWHV
u 7RUW3URGXFW/LDELOLW\            $FFRPPRGDWLRQV       u *HQHUDO
u $OO2WKHU5HDO3URSHUW\    u $PHUZ'LVDELOLWLHV u 'HDWK3HQDOW\                      IMMIGRATION
                                        (PSOR\PHQW                Other:                     u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
                                 u $PHUZ'LVDELOLWLHV u 0DQGDPXV 2WKHU          u 2WKHU,PPLJUDWLRQ
                                        2WKHU                u &LYLO5LJKWV                $FWLRQV
                                 u (GXFDWLRQ              u 3ULVRQ&RQGLWLRQ
                                                              u &LYLO'HWDLQHH
                                                                      &RQGLWLRQVRI
                                                                      &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO            u  5HPRYHGIURP             u      5HPDQGHGIURP              u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ              6WDWH&RXUW                       $SSHOODWH&RXUW                5HRSHQHG                 $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                         (specify)
                                     &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                     28 U.S.C. 1332
VI. CAUSE OF ACTION                  %ULHIGHVFULSWLRQRIFDXVH
                                      Breach of contract and slander
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                          DEMAND $                                      &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                  75,000.00                                   JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                       '2&.(7180%(5
'$7(                                                              6,*1$785(2)$77251(<2)5(&25'
12/31/2014                                                       s/Barbara M. Moschovidis
FOR OFFICE USE ONLY

   5(&(,37                 $02817                                    $33/<,1*,)3                                     -8'*(                            0$*-8'*(
